                15-60651-TLM Doc#: 40-2 Filed: 11/02/15 Entered: 11/02/15 13:52:22 Page 1 of 1
B6A (Official Form 6A) (12/07)


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  In re         Thomas W. Ridings                                                                           Case No.      15-60651
                                                                                                ,
                                                                                 Debtor

                                                SCHEDULE A - REAL PROPERTY - AMENDED
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                               Husband,    Current Value of
                                                                       Nature of Debtor's       Wife,     Debtor's Interest in              Amount of
                Description and Location of Property                   Interest in Property     Joint, or  Property, without               Secured Claim
                                                                                              Community Deducting  any Secured
                                                                                                          Claim or Exemption

710 Martini Lane                                                       Fee simple                   H                  350,000.00                 398,026.00
Columbia Falls, MT 59912

1/2 interest in 5 Martha Rd. Unit #4, Columbia Falls                   Joint tenant                 J                    15,000.00                         0.00
MT.

1/2 Interest in 6030 Warclub Dr., Crossville, TN                       Joint tenant                 J                     3,000.00                         0.00
38555 (vacant lot, too small to build on)




                                                                                                 Sub-Total >           368,000.00          (Total of this page)

                                                                                                        Total >        368,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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